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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, JOHN DOE, JANE DOE 1, JANE
 DOE 2, and JANE DOE 3,

                                Plaintiffs,

 v.

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD        Civil Action No. 3:17-cv-00072-NKM
 AMERICA, ANDREW ANGLIN,
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                                Defendants.


                                              NOTICE

        Pursuant to Local Rule 11(b) and Pre-Trial Order ¶ 11 (Docket Entry “DE” 101),

 Plaintiffs Sines et al., by counsel, respectfully advise the Court that all parties who have properly
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 appeared in this action, 1 except Defendant Fields and Defendant Peinovich, agree to submission

 of Doe Plaintiffs’ Motion to Proceed Under Pseudonyms (DE 98), filed November 13, 2017,

 without a hearing. Plaintiffs Motion had been unopposed by all defendants who had properly

 appeared in this action until Defendant Fields filed an untimely opposition at 5 p.m. this

 afternoon, weeks after his deadline to oppose (which was November 28, 2017), and only in

 response to Plaintiffs’ effort to ascertain parties’ willingness to proceed without a hearing.

 Plaintiffs intend to move to strike Fields’ untimely submission.



        Dated: December 28, 2017                       Respectfully submitted,

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        Pursuant to Plaintiffs’ Motion to Strike Defendant Loyal White Knights of the Ku Klux
 Klan’s Answer (DE 155), Plaintiffs do not consider the Loyal White Knights of the Ku Klux
 Klan to have properly appeared in this action.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 28, 2017, I filed the foregoing with the Clerk of Court

 through the CM/ECF system, which will send a notice of electronic filing to:

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 Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
 Christopher Cantwell




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         I further hereby certify that on December 28, 2017, I also served the following non-ECF

 participants, via U.S. mail, First Class and postage prepaid, addressed as follows:



 Loyal White Knights of the Ku Klux Klan              Andrew Anglin
 a/k/a Loyal White Knights Church of the              6827 N. High Street, Suite 121
 Invisible Empire, Inc.                               Worthington, OH 43085
 c/o Chris and Amanda Barker
 P.O. Box 54                                          East Coast Knights of the Ku Klux Klan
 Pelham, NC 27311                                     a/k/a East Coast Knights of the True
                                                      Invisible Empire
 Richard Spencer                                      26 South Pine St.
 1001-A King Street                                   Red Lion, PA 17356
 Alexandria, VA 22314
                                                      Fraternal Order of the Alt-Knights (c/o
 Michael Peinovich                                    Proud Boys)
 a/k/a Michael “Enoch” Peinovich                      c/o LegalCorp Solutions, LLC
 PO Box 1069                                          11 Broadway, Suite 615
 Hopewell Junction, NY 12533                          New York, NY 10004

 Moonbase Holdings, LLC                               Augustus Sol Invictus
 c/o Andrew Anglin                                    206 N. Mills Avenue
 6827 N. High Street, Suite 121                       Orlando, FL 32801
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